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 Fill in this information to identify the case:

                     Augustus Energy Resources, LLC
 Debtor name ____________________________ _____ _____ _____ ______ _____ _____ _____ _

                                                                               Delaware
 United States Bankruptcy Court f or the: _______________________ District of ________
                                                                                                                 (State)
 Case number (If known):              18-10580 (LSS)
                                      _________________________


                                                                                                                                                                                                 Check if this is an
                                                                                                                                                                                                   amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:
                                                                                                                                                                                                   7,652,276
                                                                                                                                                                                                $ ________________
           Copy line 88 from Schedule A/B.....................................................................................................................................


                                                                                                                                                                                                $ 6,118,009
     1b.   Total personal property:
                                                                                                                                                                                                  ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:                                                                                                                                                                   13,833,285
                                                                                                                                                                                                $ ________________
           Copy line 92 from Schedule A/B.....................................................................................................................................




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                 28,402,479
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................                                                  $ ________________


3.   Schedule E/F: Creditors Who Have Unsecured Claims(Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:
                                                                                                                                                                                                        2,528.26
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................                                  $ ________________


     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:                                                                                                                     1,013,398.30
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................                                        +   $ ________________




4.   Total liabilities...................................................................................................................................................................
                                                                                                                                                                                                $ 29,418,405.56
                                                                                                                                                                                                  ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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